
280 So.2d 492 (1973)
E.C., a Juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 73-63.
District Court of Appeal of Florida, Third District.
July 17, 1973.
Phillip A. Hubbart, Public Defender and Lewis S. Kimler, Asst. Public Defender, for appellant.
Robert L. Shevin, Atty. Gen., and William L. Rogers, Asst. Atty. Gen., for appellee.
Before PEARSON and HAVERFIELD, JJ., and MELVIN, WOODROW M., Sr., Associate Judge.
PER CURIAM.
On appeal from an adjudication of delinquency for unlawfully receiving, buying or concealing stolen property [Fla. Stat., § 811.16, F.S.A.], we considered carefully the record and briefs of counsel and are of the belief that there does not appear of record competent substantial evidence to support the finding of the trial judge. We are in agreement with appellant's able counsel that the proof went to the theft of the tape recorder in question rather than the "receiving, buying or concealing stolen property". We therefore must reverse the order adjudicating appellant a delinquent as this court has held in Ketelsen v. State, Fla.App. 1968, 211 So.2d 853 and Thomas v. State, Fla.App. 1968, 216 So.2d 25 that "one who steals property or is a principal to the theft can not be convicted of receiving, buying, concealing, or aiding in concealing, or aiding in concealing the property stolen".
Reversed.
